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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
TRACEY AMBEAU HANSON, et al.         )
                                     )
                  Plaintiffs,        )
                                     )
      v.                             )     Civil Action No. 09-00454 (RMU)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
                  Defendants.        )
____________________________________)

                                NOTICE OF RELATED CASE

       Pursuant to LCvR 40.5(a)(3), Defendants, (collectively, “the District”), through

undersigned counsel, gives notice of a related case. Plaintiffs in the above captioned action allege

that the District’s statutory and regulatory scheme for registration of handguns violates the

Second Amendment to the Constitution.

       Plaintiffs’ claims are similar to those alleged in Heller v. District of Columbia, No. 08-

01289 (RMU), which “is still pending on the merits” before this Court. LCvR 40.5(a)(3).

DATE: March 30, 2009                  Respectfully submitted,

                                      PETER J. NICKLES
                                      Attorney General for the District of Columbia

                                      GEORGE C. VALENTINE
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of March 2009, I sent a true copy of Defendants’

Notice of Related Case by electronic mail and by U.S. Mail, first class, postage paid, to:

       Alan Gura, Esq.
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                                             /s/ Andrew J. Saindon
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